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                Exhibit 5
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There are a number of requirements found in statutes and regulations applicable to charter schools. To ensure charter
school autonomy, the Department has developed this assurance form that schools must submit in lieu of evidence of
compliance. Each charter school should have evidence of compliance for each requirement for review on request.

This list is non-exhaustive and may not reflect recent changes to statues or BESE policy. A number of the statutes
referenced below were amended during the 2023 Legislative Session, but may not have been updated by legislative staff.
It is the responsibility of each charter school to ensure compliance with all applicable laws/policies regardless of whether
or not they are included or accurately represented on this document.

Louisiana Statutes referenced below can be found on the Legislature’s website here.BESE Bulletins can be found on the
Division of Administration’s website here. Additional state regulations can also be found on the Division of Administration’s
website here.

Directions: The Charter Board President must sign or initial each of the indicators below and sign and date the assurance
at the bottom of the list. Please scan and upload a signed copy to charters@la.gov by the deadline indicated on the
Annual Reporting Calendar..

Non Profit Organization Name:________________________________________________________________________

Charter School
Name(s):_________________________________________________________________________________________

_________________________________________________________________________________________________




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Initial             Description                            Regulations & Resources (as applicable)

          All applicable requirements of   R.S. 17:3971 through 3999
          Louisiana charter law

          All applicable requirements of   Bulletin 126, Charter Schools
          BESE Bulletin 126, Charter
          Schools

          Requirements for other public    Portions of various BESE Bulletins, including, but not limited to:
          schools and Local Education      Bulletin 111, The Louisiana School, District, and State Accountability
          Agencies (LEAs) that are also    System
          applicable to Type 2 and 5       Bulletin 118, Statewide Assessment Standards and Practices
          charter schools
                                           Bulletin 741, Louisiana Handbook for School Administrators
                                           Bulletin 1566, Pupil Progression Policies and Procedures
                                           Bulletin 1929, Louisiana Accounting and Uniform Governmental Handbook
                                           (LAUGH)
                                           Bulletin 1706, Regulations for Implementation of the Children with
                                           Exceptionalities Act
                                           Bulletin 1922, Compliance Monitoring Procedures
                                           Bulletin 1530, Louisiana's IEP Handbook for Students with Exceptionalities
                                           Bulletin 1508, Pupil Appraisal Handbook
                                           Bulletin 129, The Recovery School District (Type 5 charter schools only)
                                           Bulletin 130, Regulations for the Evaluation and Assessment of School
                                           Personnel (§§301-309, 325-329, 701 only)
                                           Bulletin 131, Alternative Education Schools/Programs Standards
                                           Bulletin 140, Louisiana Childhood Care and Education Network




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La. R.S. 17:3996 requires charter schools to comply with state rules and regulations listed below that are applicable to other
public schools. By initialing below, I assure that the charter school is in compliance with each of these requirements.
   Initial                 Item/Responsibility                       Regulations & Resources (as applicable)

             Facility accessibility                         R.S. 40:1731 through 1749
                                                            Bulletin 741, Louisiana Handbook for School Administrators

             Asbestos detection and abatement               Louisiana Administrative Code, Title 33, Part II, Environmental
                                                            Quality: Air, Chapter 27: Asbestos-Containing Materials
                                                            (ACM) in Schools and State Buildings

             The Sanitary Code                              Louisiana Administrative Code, Title 51, Public Health –
                                                            Sanitary Code (primarily Part XVII, Public Buildings, Schools,
                                                            and Other Institutions)

             Pesticide use and safety                       R.S. 3:3387-3389
                                                            La. Dept. of Agriculture & Forestry Integrated Pest
                                                            Management

             Fire safety                                    Bulletin 741, Louisiana Handbook for School Administrators

             Safe work environments                         Occupational Safety and Health Act & regulations

             The possession and safe use of weapons and     Bulletin 741, Louisiana Handbook for School Administrators
             hazardous materials

             Adolescent health initiatives and school       R.S. 40:31.3
             health centers                                 La. Office of Public Health's Adolescent School Health
                                                            program (ASHP)P

             Hearing and vision screenings                  Bulletin 135, Health and Safety

             Immunizations and health records               Bulletin 135, Health and Safety

             Communicable disease prevention                Bulletin 135, Health and Safety

             Drug use prevention                            La. Commission on Law Enforcement and Administration of
                                                            Criminal Justice, Drug Abuse Resistance Education
                                                            (D.A.R.E.)

             Eye safety and the use of protective goggles   R.S. 17:2114

             Missing children identification procedures     R.S. 40:2511 through 2528,

             School and district accountability system      Bulletin 111, The Louisiana School, District, and State
                                                            Accountability System
                                                            Bulletin 118, Statewide Assessment Standards and Practices

             Required competencies and assessments for      Bulletin 111, The Louisiana School, District, and State
             high school graduation                         Accountability System
                                                            Bulletin 118, Statewide Assessment Standards and Practices
                                                            Bulletin 1566, Pupil Progression Policies and Procedures




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La. R.S. 17:3996 requires charter schools to comply with the statutes listed below that are applicable to other public schools.
By initialing below, I assure that the charter school is in compliance with each of these requirements.
   Initial                                 Item/Responsibility                                Statutes (as applicable)

             School entrance age                                                                   R.S. 17:222

             Corporal punishment                                                                   R.S. 17:416.1(B)

             Suspension of students                                                                R.S. 17:223

             Expulsion of students                                                                 R.S. 17:224

             Attendance reporting                                                                  R.S. 17:232

             Admission of home study students                                                      R.S. 17:236

             Unauthorized use of electronic communication devices,                                 R.S. 17:239

             Smoking                                                                               R.S. 17:240

             Open meetings                                                                         R.S. 42:11 et seq.

             Public records                                                                        R.S. 44:1 et seq.

             Teaching regarding the United States Constitution                                     R.S. 17:261

             Teaching regarding the Federalist Papers and the Declaration of Independence          R.S. 17:268

             Teaching regarding Civics and Free Enterprise                                         R.S. 17:274.1

             Teaching regarding sex                                                                R.S. 17:281

             Religious liberty of students                                                         R.S. 17:2115 et seq.

             Pupil assessment                                                                      R.S. 17:24.4.

             Any school and district accountability system required by law of a public school      R.S. 17:10 through 10.8
             of similar grade or type

             Public bids for the erection, construction, alteration, improvement, or repair of a   Part II of Chapter 10 of Title
             public facility or immovable property                                                 38 of the Louisiana Revised
                                                                                                   Statutes of 1950

             Code of Governmental Ethics, with the exception of R.S. 42:1119 as it applies         R.S. 42:1101 et seq.
             to any person employed by a charter school prior to August 15, 2003

             Electronic communication by an employee at a school to a student enrolled at          R.S. 17:81(Q)
             that school
             Teaching regarding the state's Safe Haven Law                                         R.S. 17:81(R)

             Inspection and operation of fire safety and prevention equipment                      R.S. 17:81(S)



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Teaching regarding dating violence                                                  R.S. 17:81(T)

Reporting by a school bus operator employed by the governing authority of a         R.S. 17:491.3
public elementary or secondary school of his arrest for one or more of the
specified offenses relative to operating a vehicle

School master plans for supporting student behavior and discipline                  R.S. 17:252

Data collection system                                                              R.S. 17:3911

Reporting by a school employee employed by the governing authority of a             R.S. 17:16
public elementary or secondary school of his arrest for one or more of the          R.S. 15:587.1
specified offenses relative to sexual morality affecting minors, crimes listed in
R.S. 15:587.1, or any justified
complaint of child abuse or neglect on file in the central registry pursuant to     Article 615 of the Children's
Article 615 of the Children's Code                                                  Code

Seclusion and physical restraint of students with exceptionalities                  R.S. 17:416.21

Teaching regarding Internet and cell phone safety                                   R.S. 17:280

Instruction on the Founding Principles of the United States of America in R.S. 17:265
American history and civics courses

Procedures on bullying                                                              R.S. 17:416.13

School crisis management and response plans                                         R.S. 17:416.16

Instruction relative to cardiopulmonary resuscitation and the use of automatic      R.S. 17:81(X)
external defibrillators

Instruction and hotline number posting requirements relative to child assault       R.S. 17:81(Y)
awareness and prevention
Deferred compensation plans                                                         R.S. 17:81(Z)
School bus loading and unloading provisions                                         R.S. 17:158(J)
School transportation plan                                                          R.S. 17:158(J)
                                                                                    Bulletin 126 Section 2801
Student information                                                                 R.S. 17:3913 and 3914
Notification of homework assistance services                                        R.S. 17:182.1
Prohibits suspension or expulsion of students in grades pre kindergarten            R.S. 17:416(J)
through five
Deaf Child's Bill of Rights                                                         R.S. 17:1960
Instruction in cursive writing                                                      R.S. 17:266
Louisiana Expectant and Parenting Students Act                                      R.S. 17:221.7
In-service training regarding suicide prevention                                    R.S. 17:437.1
Instruction in litter prevention and awareness                                      R.S. 17:267
Administration of medication and exceptions thereto                                 R.S. 17:436.1


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              State and federal laws and regulations otherwise applicable to public schools       Various
              with respect to civil rights and individuals with disabilities
              A charter school shall accordingly recruit, employ, and train teachers,             Various
              administrators, and other employees without regard to race, color, religion, sex,
              or national origin. Race, color, religion, sex, and national origin shall not
              constitute bona fide occupational qualifications. Proficiency in a foreign
              language may constitute a bona fide occupational qualification for a teacher
              who spends more than half of his daily instruction time providing instruction in
              or teaching in a foreign language.
              Financial audits                                                                    R.S. 24:513 et seq.
              Budgets preparation; each Type 2 and Type 5 charter school annually shall           R.S. 39:1301 through 1315
              submit its budget directly to the state superintendent of education.



By signing below, I certify that I have read, understand, and agree to each of the above provisions and requirements. Evidence for each
indicator is available for review upon request.




_____________________________________________________                                         _____________________

                 Signature of Charter Board President                                                       Date




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